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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

 DAMIAN ORLOWSKI, et al.,

        Plaintiffs on behalf of themselves
        and all other similarly situated,

 v.                                                   No. 2:11-cv-01396
                                                      JURY DEMANDED

 LARRY BATES, et al.

        Defendants.


      ORDER MODIFYING ORDERS OF PREJUDGMENT ATTACHMENT AS TO
                    DEFENDANT CHARLES E. BATES


        This matter came before the Court on September 2, 2015, for a follow-up status

 conference in regard to the order of prejudgment attachment entered by the Court at ECF Nos.

 440 and 443. At the conference, the Receiver reported that, as of the date of the hearing, the

 insurance and property taxes were current on the parcel of property and improvement owned by

 Defendant Charles E. “Chuck” Bates and his wife located at 3680 Winwood Farm Loop,

 Middleton, Tennessee, parcel No. 192-008.06 (the “Property”), thus mitigating risk to the

 Receivership Estate of potential loss of the Property. Defendant Larry Bates holds a private

 mortgage on the Property; however, counsel for Defendant Chuck Bates reported to the Court

 that the mortgage is in arrears although it was unclear as to how much. Chuck Bates’ wife, who

 is not a party to this action, did not appear to assert her rights and has not contacted Receiver to

 assert her rights in the Property.

        Therefore, the Court finds that the Orders of Prejudgment Attachment entered at ECF

 Nos. 440 and 443, shall be modified as to Defendant Chuck Bates as follows:
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        1.      Defendant Chuck Bates, his wife and minor child only may reside at the Property

 located at 3680 Winwood Farm Loop, Middleton, Tennessee, parcel No. 192-008.06, as of

 September 3, 2015. No other Defendant may reside at the Property;

        2.      Defendant Chuck Bates and his family are prohibited and enjoined from entering

 any of the property that is subject to the joint attachment of the Receiver and Plaintiffs, including

 the property and improvements located at 3780 Winwood Farms Loop and parcel Nos. 192-

 008.03, 192-008.04, 192-008-07 and 192-017.06;

        3.      Defendant Chuck Bates is required to maintain necessary and required property

 taxes, property insurance premiums, utilities, and alarm service during his occupancy of the

 Property;

        4.      On request of the Receiver, Defendant Chuck Bates shall provide proof of

 insurance and payment of property taxes;

        5.      Beginning on October 1, 2015, and on the first day of each month thereafter,

 Defendant Chuck Bates shall make a partial mortgage payment to the Receiver in an amount set

 by the Receiver based on Mr. Bates income, as verified by the Receiver;

        6.      The Receiver permits Defendant Chuck Bates to use a riding lawn mower subject

 to the orders of pre-judgment attachment to maintain the appearance of the Property, provided

 that Chuck Bates shall be prohibited and enjoined from removing, selling, or otherwise impairing

 the value of the lawn mower and any personal property on or in the Property or from taking any

 action that would decrease or waste the value of the Property;

        7.      If Defendant Chuck Bates fails to pay property taxes as they come due, maintain

 insurance on the Property, or make agreed mortgage payments, on a motion to the Court, the




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 Receiver may evict Defendant Chuck Bates, his wife and minor child from the Property and

 foreclose on the Property as permitted by Tennessee law.

        It is so ORDERED this the 21st day of September, 2015.


                                             /s/ Jon P. McCalla
                                             JON P. McCALLA
                                             U.S. DISTRICT COURT JUDGE




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